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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA,

                                   Plaintiff,                     SCHEDULING ORDER

             -against-                                            20 Mag. 1803

AMBIORIX DUVAL FLORES,

                                    Defendant.
------------------------------------------------------X

        The Court has scheduled an Arraignment for February 4, 2021 at 2:00 p.m. before

Magistrate Judge Judith C. McCarthy using the Cisco Webex platform. Counsel will be provided

with a link via e-mail to connect to the conference.

        Members of the press and public may call 855-244-8681 and enter access code 180 686

2374 to listen to the proceeding, but will not be permitted to speak during the conference. Persons

granted remote access to proceedings are reminded of the general prohibition against

photographing, recording, and rebroadcasting of court proceedings. See Local Civil Rule 1.8.

Violation of these prohibitions may result in sanctions, including removal of court issued media

credentials, restricted entry to future hearings, denial of entry to future hearings, or any other

sanctions deemed necessary by the Court.

        Counsel should be sure to consult the Court's Emergency Individual Rules and Practices,

available on the Court's website, and comply with the rules regarding conferences.

Dated: January 28, 2021
       White Plains, New York


                                                          SO ORDERED:

                                                           _______________________    ___
                                                                                       _ _
                                                          ___________________________________
                                                           UDITH C.
                                                          JUDITH   C McCARTHY
                                                          United States Magistrate Judge
